           Case 07-01261-8-SWH                Doc 97 Filed 05/17/13 Entered 05/17/13 15:20:02                               Page 1 of 2
0015-2V-EPIE2V-00415527-1451309          United States Bankruptcy Court
                                                                      For The
                                              Eastern District of North Carolina Fayetteville Division
          BARBARA FAY BROCKINGTON                                                                                 Case No.: 07-01261-8-SWH
          PO BOX 2452                                                                                               SS #1: XXX-XX-7459
          LUMBERTON, NC 28359


                                                FINAL REPORT AND ACCOUNT
      This case was          MO. DAY YR.              The Plan was           MO. DAY YR.                     The Case was    MO. DAY YR.
      commenced on                                    confirmed on                                           concluded on
                              04    04   07                                   04    02    08                                     10   04    12
      Plan Completed
     Your trustee has maintained a detailed record of all receipts, including the source or other identification of each receipt and
 of all disbursements. Copies of these detailed records have been filed with the Court, or are attached hereto, and are incorporated
 by reference in this report.
 RECEIPTS: Amount paid to the Trustee by or for the Debtor for benefit of creditors.                                     $         513,665.30
DISBURSEMENTS TO CREDITORS                                                                                  AMOUNT PAID               BALANCE
                                                     CLAIM                         AMOUNT
                                                                                                                                        DUE
                                  CREDITOR'S NAME   NUMBER CLASSIFICATION          ALLOWED          PRINCIPAL         INTEREST

BARBARA FAY BROCKINGTON                               777    Refund                       0.00                 0.00          0.00                0.00
WELLS FARGO BANK                                      007    Secured                202,198.96           202,198.96          0.00                0.00
WELLS FARGO BANK                                      008    Secured                 47,312.44            47,312.44          0.00                0.00
UNITED MORTGAGE & LOAN                                012    Secured                 49,991.04            49,991.04          0.00                0.00
UNITED MORTGAGE & LOAN                                013    Secured                 26,635.79            26,635.79          0.00                0.00
WACHOVIA                                              015    Unsecured                    0.00                 0.00          0.00            Not Filed
WEST ASSET MANAGEMENT                                 018    Unsecured                    0.00                 0.00          0.00            Not Filed
WACHOVIA BANK                                         016    Unsecured                    0.00                 0.00          0.00            Not Filed
JEFF JONES                                            009    Unsecured              121,581.71            22,106.95          0.00           99,474.76
ALLTEL                                                001    Unsecured                    0.00                 0.00          0.00            Not Filed
AMERICAN EXPRESS                                      002    Unsecured                1,721.14               309.14          0.00            1,412.00
BB&T                                                  003    Unsecured                  288.42                51.85          0.00              236.57
CENTRAL CAROLINA BANK                                 004    Unsecured                    0.00                 0.00          0.00            Not Filed
CENTRAL CAROLINA BANK                                 005    Unsecured                    0.00                 0.00          0.00            Not Filed
CENTRAL CAROLINA BANK                                 006    Unsecured                    0.00                 0.00          0.00            Not Filed
TIME WARNER                                           011    Unsecured                    0.00                 0.00          0.00            Not Filed
SUNTRUST BANK                                         010    Unsecured                9,063.57             1,648.01          0.00            7,415.56
FRONTIER COMMUNICATIONS B                             014    Unsecured                1,665.39               299.13          0.00            1,366.26
WACHOVIA BANK                                         017    Unsecured                    0.00                 0.00          0.00            Not Filed
GILBERT B WEISMAN                                     019    Secured                      0.00                 0.00          0.00            Not Filed
WACHOVIA BANK                                         020    Unsecured               24,040.48             4,371.26          0.00           19,669.22
SPRINT PCS                                            021    Secured                      0.00                 0.00          0.00            Not Filed
C. CHRISTOPHER SMITH                                  022    Secured                      0.00                 0.00          0.00            Not Filed
LEAMON JERRY STRICKLAND                               023    Unsecured              130,740.00            23,772.14          0.00          106,967.86
WILLIAMSON WALTON & SCOTT                             024    Secured                      0.00                 0.00          0.00            Not Filed
SPRINT NEXTEL CORP                                    025    Unsecured                  221.54                39.84          0.00              181.70
SUNTRUST BANK                                         026    Secured                  2,284.28             2,284.28          0.00                0.00
INTERNAL REVENUE SERVICE                              027    Priority                56,410.78            56,410.78          0.00                0.00
INTERNAL REVENUE SERVICE                              027    Unsecured               13,951.00             2,536.68          0.00           11,414.32
INTERNAL REVENUE SERVICE                              028    Priority                41,184.88            41,184.88          0.00                0.00




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                                                                           For The
                                                   Eastern District of North Carolina Fayetteville Division
          BARBARA FAY BROCKINGTON                                                                                       Case No.: 07-01261-8-SWH
          PO BOX 2452                                                                                                     SS #1: XXX-XX-7459
          LUMBERTON, NC 28359


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DISBURSEMENTS TO CREDITORS                                                                                      AMOUNT PAID                 BALANCE
                                                            CLAIM                       AMOUNT
                                                                                                                                              DUE
                                  CREDITOR'S NAME          NUMBER CLASSIFICATION        ALLOWED          PRINCIPAL          INTEREST

BARBARA FAY BROCKINGTON                                     999    Refund                      13.75             13.75               0.00             0.00

SUMMARY OF CLAIMS ALLOWED AND PAID:

                        SECURED             PRIORITY              GENERAL               LATE              SPECIAL            TOTAL
AMOUNT ALLOWED            328,422.51            97,595.66          303,273.25                  0.00              13.75       729,305.17      TOTAL PAID
                                                                                                                                             PRINCIPAL
 PRINCIPAL PAID           328,422.51            97,595.66           55,135.00                  0.00              13.75       481,166.92     AND INTEREST

 INTEREST PAID                     0.00               0.00                 0.00                0.00               0.00               0.00    481,166.92
OTHER DISBURSEMENT UNDER ORDER OF COURT
                                     DEBTOR'S ATTORNEY                             FEE ALLOWED                                 FEE PAID

                                  GREGORY T GRIFFIN                                      3,000.00                             3,000.00
 COURT COSTS AND                                ADDITIONAL CHARGES                                TRUSTEE
  OTHER EXPENSES          FILING FEE                                                                                         OTHER
                                                 CLERK'S          .25 EACH CLAIM        EXPENSE          COMPENSATION
 OF ADMINISTRATION       AND DEPOSIT                                                                         FUND
                                                                                                                             COST
                                                CHARGES               OVER 10            FUND

                                    0.00               0.00                             19,629.14             9,869.24            0.00            29,498.38

       WHEREFORE, your Petitioner prays that a Final Decree be entered discharging your Petitioner as Trustee and releasing your
Petitioner and The Trustee's surety from any and all liability on account of the within proceedings, and closing the estate, and for such
other and further relief as is just. Pursuant to FRBP 5009, I hereby certify that the above captioned case has been fully administered.

Dated: 04/20/2013                                                                              Robert R. Browning, Interim Trustee
                                                                                               P.O. Box 1618
                                                                                               New Bern, NC 28563




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